                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF FLORIDA
                                PENSACOLA DIVISION


 JAY P. KESAN,

                        Plaintiff,
                                                     CASE NO. 3:24-cv-00364-TKW-HTC
       v.

 L’ORÉAL USA, INC.: L’ORÉAL S.A.,


                        Defendants.


                             MOTION TO APPEAR PRO HAC VICE

       Pursuant to Local Rule 11.1(C), Defendant L’Oréal USA, Inc. (“L’Oréal USA” ),

respectfully moves the Court to permit Scott A. Klein, a partner of the law firm of Mintz & Gold

LLP, 600 Third Avenue, 25th Floor, New York, NY 10016, to appear pro hac vice on behalf of

L’Oreal USA in this matter, and, pursuant to Rule 2B of the Court’s CM/ECF Administrative

Procedures, to permit Mr. Klein to receive notice of electronic filings in this case. In support of its

request, Defendant states as follows:


       1.      Scott A. Klein resides in New York, New York, is not a resident of the State of

Florida, and is not admitted to practice in the Northern District of Florida.

       2.      Mr. Klein is a partner with the law firm of Mintz & Gold LLP, 600 Third Avenue,

25th Floor, New York, NY 10016, and regularly practices law in Mintz & Gold LLP’s office in

New York, New York. Mr. Klein has been engaged to represent Defendant L’Oréal USA in this

action.

       3.      Mr. Klein is admitted to and is an active member in good standing of the New York

State Bar and a current Certificate of Good Standing from the New York Bar is attached as

Exhibit A.

       4.      Mr. Klein has complied with the requirements of Local Rule 11.1 (E) by completing

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the Attorney Admission Tutorial and exam and the CM/ECF online tutorials on September 25,

2024. His confirmation number is FLND17273021742070.

          5.   Mr. Klein is familiar with and will be governed by the Local Rules of the Northern

District of Florida and is also familiar with and will be governed by Florida’s Rules of

Professional Conduct and the other ethical limitations or requirements governing the professional

behavior of members of the Florida Bar.

          6.   Mr. Klein has an active upgraded PACER account. He requests authorization to

receive electronic notices of filing. His email address is klein@mintzandgold.com.

          7.   Mr. Klein will pay the required $208.00 pro hac vice fee for this case at the time of

filing.


       WHEREFORE, Defendant respectfully requests that the Court permit Scott A. Klein to
appear pro hac vice.

Dated: September 27, 2024                    Respectfully submitted,

                                             _s/ Scott A. Klein________________
                                             By: Scott A. Klein, Esq.
                                             MINTZ 7 GOLD LLP
                                             600 Third Avenue, 25th Floor
                                             New York, New York 10016
                                             (212) 696-4848
                                             klein@mintzandgold.com
                                             Attorneys for Defendant L’Oréal USA, Inc.




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                                RULE 7.1(B) CERTIFICATION

      Counsel for Defendant has conferred with counsel for Plaintiff, who has consent to
Defendant’s motion for pro hac vice.

                       RULE 7.1(F) CERTIFICATE OF CONFERRAL

        The undersigned certifies that this motion contains 359 words, excluding the case style and
certifications.

                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on September 27, 2024 I electronically filed the foregoing with
the Clerk of the Court by using the CM/ECF system, which will send notice of electronic filing to
all counsel of records.



                                                         s/Scott A. Klein
                                                         Scott A. Klein




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